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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA
                                           Hon. Dennis M. Cavanaugh
     v.                              :     Criminal No. 09-215(DMC)
                                           C.n/u- iJo. Z:IZe/8/(Pic)
CORTNIE SPENCER

                                   ORDER

             This matter having been opened to the Court on the

application of the United States,          by Paul J.    Fishman,    United

States Attorney for the District of New Jersey               (Eric W.   Moran,

Assistant United States Attorney,          appearing);    and the defendant,

Cortnie Spencer,     through his counsel,      Jerome Ballarotto,        Esq.    and

Sally A.   Frick,   Esq.,   having moved pursuant to 28 U.S.C.           § 2255

to withdraw his guilty plea        (the “Motion”)      [Docket Entry No,        170]

based on alleged ineffective assistance of prior counsel that

occurred between the time of his arrest and his sentencing;                   and

the defendant having been arrested on September 26,               2Q08 and

having been sentenced on September 7,          2011;    and the defendant

having been represented during that time by John H.               Yauch,   Esq.,

Pasquale F.   Giannetta,    Esq.   and Barry S.   Turner,     Esq.   (“Prior

Counsel”);    and for good cause shown,

             IT IS THE FINDING OF THIS COURT that by alleging in the

Motion that the defendant received ineffective assistance of

counsel,   the defendant knowingly and voluntarily waived the

attorney-client privilege with regard to communications

concerning his claim of ineffective assistance of counsel.
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            IT IS THEREFORE ORDERED on this Eay of October,

2012,   that:

            1.   The Government may interview Prior Counsel at a

mutually convenient time and place,      regarding the claims of

ineffective assistance of counsel raised in the Motion and that

counsel shall disclose to the Government information relevant to

the ineffective assistance of counsel claim;

            2.   Prior Counsel each shall provide an affidavit to

the Court pertaining to any consultation with Cortnie Spencer and

any action taken with regard to the issues raised by Cortnie

Spencer in the Motion;    and

            3.   Prior Counsel shall give testimony including

testimony concerning the claims of ineffective assistance of

counsel raised in the Motion,     if the Court orders a Hearing on

the Motion.




                                  United States D         rict Judge




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